Case 9:19-cv-80914-RAR Document 1 Entered on FLSD Docket 07/11/2019 Page 1 of 10



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                          CASE NO.:

  GLORIA CALDAROLA,

                 Plaintiff,

  vs.

  HARRY CONGLETON, LLC, a Florida
  Limited Liability Company, and TOTAL
  VITALITY MEDICAL GROUP LLC, a
  Florida Limited Liability Company,

                 Defendants.
                                                 /

                                             COMPLAINT

         Plaintiff, GLORIA CALDAROLA, by and through undersigned counsel, hereby sues the

  Defendants, HARRY CONGLETON, LLC, a Florida Limited Liability Company, and TOTAL

  VITALITY MEDICAL GROUP LLC, a Florida Limited Liability Company, for injunctive

  relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181, et seq., ("Americans with Disabilities

  Act" or "ADA").

                                            JURISDICTION

         1.      The Court has original jurisdiction in this action pursuant to 28 U.S.C. § 1331 and

  1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181 et seq., based on Defendants’ violations

  of Title III of the Americans with Disabilities Act. Plaintiff’s claims are authorized by 28 U.S.C.

  § 2201 and 2202.

                                               PARTIES

         2.      The Plaintiff, GLORIA CALDAROLA, suffers from the effects of multiple

  sclerosis and is disabled as defined by the Americans with Disabilities Act. Ms. Caldarola is
Case 9:19-cv-80914-RAR Document 1 Entered on FLSD Docket 07/11/2019 Page 2 of 10



  substantially limited in performing major life activities including walking, caring for herself,

  performing manual tasks, working, standing, bending, grasping and lifting. Ms. Caldarola uses a

  wheelchair for her mobility. Ms. Caldarola is a Florida resident and is sui juris. Ms. Caldarola has

  suffered direct injury as a result of the Defendants’ actions or inaction described herein. Prior to

  the filing of this action, Ms. Caldarola personally visited Defendants’ premises described below and

  her full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations offered at the property were restricted and limited because of her disabilities and

  will be restricted in the future unless and until Defendants are compelled to remove the physical

  barriers to access and cure the ADA violations that exist at the property, including but not limited

  to those set forth in this Complaint.1 Such barriers constitute discrimination prohibited by the ADA.

  Ms. Caldarola will visit the premises in the near future to avail herself of the goods and services

  offered to the public at the property once the property is made accessible and ADA-compliant.

           3.       Completely independent of her personal desire to have access to places of public

  accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” on behalf of herself,

  and other persons with disabilities, for the purpose of discovering, encountering, and engaging

  discrimination against the disabled in public accommodations. When acting as a “tester,” Plaintiff

  employs a routine practice. She personally visits the public accommodation where she knows or

  where it has been reported to her that illegal barriers to access exist; engages all of the barriers to

  access, or at least all of those that she is able to access; and tests all of those barriers to access to

  determine whether and the extent to which there are illegal barriers to access; proceeds with legal


           1
             Th e term “ADA violations,” as used herein , means that the physical elements at issue violated the ADA’s
  regulations and the ADA Standards for Accessible Design, originally published in 1991, as well as the 2010 Standards
  that became effective on March 15, 2012.

                                                           2
Case 9:19-cv-80914-RAR Document 1 Entered on FLSD Docket 07/11/2019 Page 3 of 10



  action to enjoin such discrimination; and subsequently returns to the premises to verify its

  compliance or non-compliance with the ADA and to otherwise use the public accommodation as

  members of the able-bodied community are able to do. Independent of other subsequent visits for

  personal reasons, Plaintiff also intends to visit the premises annually to verify its compliance or non-

  compliance with the ADA, and its maintenance of the accessible features of the premises.

          4.      In July 2019, Plaintiff, in her individual capacity for personal reasons, and as

  a “tester,” visited the Facility, encountered barriers to access at the Facility, and engaged and tested

  those barriers, suffered legal harm and legal injury, and will continue to suffer such harm and injury

  as a result of the illegal barriers to access and Defendants’ ADA violations set forth herein.

          5.      Plaintiff has suffered and continues to suffer direct and indirect injury as a result of

  Defendants’ actions or inaction described herein.

          6.      The Defendant, HARRY CONGLETON, LLC, a Florida Limited Liability

  Company, is authorized and engaged in the transaction of business in Florida. Upon information

  and belief, this Defendant is the owner, lessee, lessor and/or operator of the real property and

  improvements which are the subject of this action, a commercial facility located at or about 7556

  Lake Worth Road, Lake Worth, Florida 33467 (hereinafter referred to as the “Property”).

          7.      The Defendant, TOTAL VITALITY MEDICAL GROUP LLC, a Florida

  Limited Liability Company, is authorized and engaged in the transaction of business in Florida.

  Upon information and belief, this Defendant is the owner, lessee, lessor and/or operator of the real

  property and improvements which are the subject of this action, a commercial facility more

  commonly referred to as “Total Vitality Medical,” located at or about 7556 Lake Worth Road, Lake

  Worth, Florida 33467 (hereinafter referred to as the “Property”).

                                                     3
Case 9:19-cv-80914-RAR Document 1 Entered on FLSD Docket 07/11/2019 Page 4 of 10



                                           INTRODUCTION

          8.      On July 26, 1990, Congress enacted the Americans with Disabilities Act (“ADA”),

  42 U.S.C. §12101, et. seq., establishing the most important civil rights law for persons with

  disabilities in our country's history.

          9.      The Congressional statutory findings include:

                  (a)   some 43,000,000 Americans have one or more physical or mental disabilities,
          and this number is increasing as the population as a whole is growing older;

                  (b)     historically, society has tended to isolate and segregate individuals with
          disabilities, and, despite some improvements, such forms of discrimination against
          individuals with disabilities continue to be a serious and pervasive social problem;

                  (c)  discrimination against individuals with disabilities persists in such critical
          areas as employment, housing, public accommodations, education, transportation,
          communication, recreation, institutionalization, health services, voting, and access to public
          services;

                   (d)     individuals with disabilities continually encounter various forms of
          discrimination, including outright intentional exclusion, the discriminatory effects of
          architectural, transportation, and communication barriers, overprotective rules and policies,
          failure to make modifications to existing facilities and practices, exclusionary qualification
          standards and criteria, segregation, and relegation to lesser services, programs, activities,
          benefits, jobs, or other opportunities; and,

                  (e)    the continuing existence of unfair and unnecessary discrimination and
          prejudice denies people with disabilities the opportunity to compete on an equal basis and
          to pursue those opportunities for which our free society is justifiably famous, and costs the
          United States billions of dollars in unnecessary expenses resulting from dependency and non
          productivity.

  42 U.S.C. § 12101(a)(1)-(3), (5) and (9).

          10.     Congress explicitly stated that the purpose of the ADA was to:

                 (a)     provide a clear and comprehensive national mandate for the elimination of
          discrimination against individuals with disabilities;

                  (b)     provide clear, strong, consistent, enforceable standards addressing


                                                    4
Case 9:19-cv-80914-RAR Document 1 Entered on FLSD Docket 07/11/2019 Page 5 of 10



          discrimination against individuals with disabilities; and,

                  (c)    invoke the sweep of congressional authority, including the power to enforce
          the fourteenth amendment and to regulate commerce, in order to address the major areas of
          discrimination faced day-to-day by people with disabilities.

  42 U.S.C. § 12101(b)(1), (2) and (4).

          11.      Congress provided commercial businesses one and a half years from the effective

  date, to implement the requirements imposed by the ADA. The effective date of Title III of the

  ADA, was January 26, 1992. 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

          12.      The subject premises, which is owned, leased and/or operated by the Defendants and

  which is the subject of this action, is a commercial facility which offers goods and/or services to the

  public. The facility must be, but is unable to be, accessed by individuals with disabilities, including

  the Plaintiff.

          13.      Pursuant to 42 U.S.C. § 12181(7), 28 C.F.R. § 36.104, the premises which are the

  subject of this action are public accommodations covered by the ADA and must be in compliance

  therewith.

          14.      The Defendant has discriminated and continues to discriminate against the Plaintiff

  by denying her access to, and full and equal enjoyment of, the goods, services, facilities, privileges,

  advantages and/or accommodations of the premises, as prohibited by 42 U.S.C. § 12182 et seq., and

  by failing to remove architectural barriers as required by 42 U.S.C. § 12182(b)(2)(A)(iv).

          15.      The Defendants have discriminated and continue to discriminate against the

  Plaintiff and others who are similarly situated, by failing to make reasonable accommodations in

  policies, practices or procedures which are necessary to afford such goods, services, facilities,

  privileges, advantages or accommodations to individuals with disabilities.                 42 U.S.C.


                                                    5
Case 9:19-cv-80914-RAR Document 1 Entered on FLSD Docket 07/11/2019 Page 6 of 10



  12182(b)(2)(A)(ii).

          16.     The Plaintiff has been unable to and continues to be unable to enjoy full and safe

  access to, and the benefits of the services offered at Defendants’ premises. Prior to the filing of this

  lawsuit, Plaintiff visited the premises and was denied access to the benefits, accommodations and

  services of the Defendants’ premises and therefore suffered an injury in fact. Plaintiff continues to

  desire to visit Defendants’ premises, but continues to be injured in that she is unable to and

  continues to be discriminated against due to the architectural barriers and policies and/or procedures

  which remain at Defendants’ premises in violation of the ADA. Ms. Caldarola has now and

  continues to have reasonable grounds for believing that she has been and will be discriminated

  against because of the Defendants’ deliberate and knowing continuing violations of the ADA.

          17.     Pursuant to the mandates of U.S.C. § 12134(a), on July 26, 1991, the Department of

  Justice, Office of the Attorney General, promulgated federal regulations to implement the

  requirements of the ADA. 28 C.F.R. Part 36.

          18.     The Defendant is in violation of 42 U.S.C. § 12181 et seq., 28 C.F.R. 36.302 et seq.,

  and FBC (Florida Building Code, Chapter 11, Florida Accessibility Code for Building Construction,

  effective March 1, 2002, the “Code”, chapter 11-4.6), and is discriminating against the Plaintiff as

  a result of inter alia, the following specific violations, of which Plaintiff has actual notice or has

  personally experienced and/or observed:

  Parking

          a.      There are non-compliant disabled person parking spaces, in violation of
                  STANDARDS 208 and 502.

          b.      The disabled use spaces do not have clear and level access aisles provided, violating
                  STANDARD 502.


                                                     6
Case 9:19-cv-80914-RAR Document 1 Entered on FLSD Docket 07/11/2019 Page 7 of 10



        c.     There is no accessible route from the parking areas to the facility, in violation of
               STANDARDS 206, 402, 403, 404, 405, and 406.

        d.     There are incorrect signs designating the disabled use spaces, in violation of
               STANDARD 502.6

        e.     The ramps provided from the parking areas to the facility have slopes, side-slopes,
               and/or cross slopes in excess of the limits prescribed in STANDARDS 405 and 406.

        f.     There are no proper handrails provided for the ramps from the parking areas to the
               facility, in violation of STANDARD 405.8.

        g.     The accessible parking spaces are improperly dispersed and marked as per U.S.
               Dep’t of Transp., Manual on Uniform Traffic Control Devices, Pt. 3, § 3A.05 (2000)
               (striped in white and prominently outlined in blue), and in violation of STANDARD
               502.

        h.     The disabled use spaces and/or unloading areas are located on a slope in violation
               of STANDARD 502.

  Entrance Access and Path of Travel

        i.     There are no accessible routes from the street, sidewalk and parking areas, in
               violation of STANDARDS 206, 402, 403, 404 and 406.

        j.     The doors of the building entrances are fitted with inaccessible hardware at the
               facility, in violation of STANDARD 404.

        k.     There are ramps at the facility that do not have level landings and/or contain
               excessive slopes, side slopes or cross slopes in violation of STANDARD 405.

        l.     There are rises at the thresholds of entrances at the facility in excess of 1/2 of an
               inch, violating STANDARD 404.2.5.

        m.     There is not a continuous path of travel connecting all essential elements of the
               facility, violating STANDARD 402.

  Access to Goods and Services

        n.     There are protruding objects present throughout the facility, in violation of
               STANDARD 307.

        o.     There are permanently designated interior spaces without proper signage in violation


                                                 7
Case 9:19-cv-80914-RAR Document 1 Entered on FLSD Docket 07/11/2019 Page 8 of 10



                 of STANDARDS 216 and 703.

         p.      There are counters throughout the facility in excess of 36", in violation of
                 STANDARDS 227 and 904.

         q.      There are restrooms for public use at the facility without the required disabled use
                 elements, in violation of several sections of the ADA Standards.

         r.      There is insufficient clear floor space to access goods or services at the facility, in
                 violation of several sections of the ADA Standards.

         19.     There are other current violations of the ADA at the facility owned and operated by

  the Defendants that were not specifically identified herein as the Plaintiff is not required to engage

  in a futile gesture pursuant to 28 C.F.R. Part 36, § 36.501 and, as such, Plaintiff requires an

  inspection of the Facility and Property in order to determine all of the discriminatory acts violating

  the ADA.

         20.     The removal of the physical barriers, dangerous conditions and ADA violations set

  forth herein is readily achievable and can be accomplished and carried out without much difficulty

  or expense. 42 U.S.C. §12182(b)(2)(A)(iv); 42 U.S.C. §12181(9); 28 C.F.R. §36.304.

         21.     To date, these readily achievable barriers and other violations of the ADA still exist

  and have not been remedied or altered in such a way to effectuate compliance with the provisions

  of the ADA.

         22.     Upon information and belief, the Facility and Property have been altered since 2010.

         23.     In instances where the 2010 ADAAG standard does not apply, the 1991 ADAAG

  standard applies and all of the violations listed in Paragraph 18 can be applied to the 1991 ADAAG

  standards.

         24.     Plaintiff has attempted to gain access to the Facility and Property in her capacity as



                                                    8
Case 9:19-cv-80914-RAR Document 1 Entered on FLSD Docket 07/11/2019 Page 9 of 10



  a customer, but because of her disability has been denied access to, and has been denied the benefits

  of services, programs and activities of the Facility and Property, and has otherwise been

  discriminated against and damaged by Defendants, because of the physical barriers, dangerous

  conditions and ADA violations set forth above, and expects to be discriminated against in the near

  future by Defendants because of Plaintiff’s disabilities, unless and until Defendants are compelled

  to remove the unlawful barriers and conditions and comply with the ADA.

          25.     The barriers to access at the property have effectively denied or diminished the

  Plaintiff’s ability to visit the property and have endangered her safety. Barriers to access involving

  path of travel and parking at this property have posed a risk of injury to the Plaintiff. Other barriers

  to access as described in this Complaint cause similar risk of injury, embarrassment or discomfort

  to the Plaintiff.

          26.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

  reasonably anticipates that she will continue to suffer irreparable harm unless and until Defendants

  are required to remove the physical barriers, dangerous conditions and ADA violations that exist

  at the Facility and Property, including those set forth herein. The relief requested serves the public

  interest and the benefit to Plaintiff and the public far outweigh any detriment to Defendants.

          27.     Plaintiff has been obligated to retain undersigned counsel for the filing and

  prosecution of this action, and has agreed to pay her counsel reasonable attorney’s fees, including

  costs and expenses incurred in this action. Plaintiff is entitled to recover those attorney’s fees, costs

  and expenses from Defendants pursuant to 42 U.S.C. §§ 12205 and 12117.

          28.     Pursuant to 42 U.S.C. § 12188, this Court is provided authority to grant the Plaintiff

  injunctive relief including an order to modify the subject facilities to make them readily accessible


                                                     9
Case 9:19-cv-80914-RAR Document 1 Entered on FLSD Docket 07/11/2019 Page 10 of 10



  to and useable by individuals with disabilities to the extent required by the ADA, and closing the

  subject facilities until the requisite modifications are completed.

         WHEREFORE, the Plaintiff requests the Court to issue a permanent injunction enjoining

  the Defendants from continuing their discriminatory practices, ordering the Defendants to

  implement policies consistent with the ADA to accommodate the disabled, to remove the physical

  barriers to access and alter the subject Facility to make it readily accessible to and useable by

  individuals with disabilities to the extent required by the ADA, and awarding Plaintiff her

  reasonable attorney’s fees, litigation expenses, including expert fees, and costs.

         Respectfully submitted this 11th day of July, 2019.


                                                        s/ Cynthia K. Mitchell
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                                                   10
